    Case 1:24-cr-00542-AS             Document 382            Filed 06/08/25         Page 1 of 1




                                                                            June 8, 2025


Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We write pursuant to the Court’s May 20, 2025 Order requiring that email
correspondence concerning evidentiary objections or applications for relief be docketed
by the end of the week it was originally sent. (ECF 342.) Accordingly, we are filing email
correspondence from the defense.

                                                   Respectfully submitted,

                                                   /s/ Anna Estevao
                                                   Marc Agnifilo
                                                   Teny Geragos
                                                   Alexandra A.E. Shapiro
                                                   Jason A. Driscoll
                                                   Anna Estevao
                                                   Brian Steel
                                                   Nicole Westmoreland
                                                   Xavier Donaldson



Cc: All counsel (by ECF)




         156 W 56th St. Suite 2004 | New York, NY 10019 | www.harristrz.com | tel: 212.970.6465
